                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF WISCONSIN

(1) KINDRED REHAB SERVICES, INC.                      )
d/b/a REHABCARE,                                      )
                                                      )
                       Plaintiff,                     )
                                                      )
v.                                                    ) Case No. 17-CV-910
                                                      )
(1) MOUNT CARMEL HEALTH CARE,                         )
LLC d/b/a BURLINGTON MEDICAL AND                      )
REHAB CENTER, et al.                                  )
                                                      )
                       Defendants.                    )

 ALL DEFENDANTS’ REPLY TO PLAINTIFF’S RESISTANCE TO THEIR MOTION
         FOR SEPARATE TRIALS OR TO SEVER CERTAIN CLAIMS

       Trial courts are granted a significant latitude in applying many of the Federal Rules of

Civil Procedure, including Rule 20(a). However, a trial court’s discretion does not extend so far

as to allow it to ignore explicit text of a Federal Rule of Civil Procedure, nor otherwise to impose

an interpretation that exceeds the scope of its written text.       Regardless of any perceived

advantages that may possibly result from plaintiff’s attempted permissive joinder, the clear text

of the rule requires that the right(s) to relief be ―asserted against (the defendants) jointly,

severally, or in the alternative‖. Plaintiff’s complaint fails to assert any cause of action that

would impose joint, several, or alternative liability against any two or more defendants in this

action. As a result, the plaintiff has failed to satisfy the mandate of Rule 20(a)(2)(A)’s clear

language, and Defendants are therefore entitled to relief from this court.

       I.     PLAINTIFF’S COMPLAINT HAS FAILED TO SATISFY THE CLEAR
              LANGUAGE OF FRCP 20(a)(2)(A), AND HENCE DEFENDANTS HAVE
                             BEEN IMPROPERLY JOINED




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            Case 2:17-cv-00910-NJ Filed 12/01/17 Page 1 of 6 Document 30
         Contrary to Plaintiff’s arguments, Rule 20(a)(2)(A)’s clear language1 contains the

mandatory element that any relief sought against properly permissively joined Defendants must

be asserted against them ―jointly, severally, or in the alternative‖. Moreover, the Federal Rules

are subject to the same well-established rules of linguistic interpretation as statutes. E.g., Marx

v. Gen. Revenue Corp., 568 U.S. 371, 376 (2013) (construing the meaning of both a federal rule

and a statute, noting that the analysis would be that undertaken in ―[a]ll statutory construction

cases‖); Bus. Guides, Inc. v. Chromatic Commc'ns Enterprises, Inc., 498 U.S. 533, 540–41

(1991) (noting that just ―[a]s with a statute, our inquiry is complete if we find the text of the Rule

to be clear and unambiguous‖). The rules of statutory interpretation provide that a party cannot

ignore explicit sections of the text so as to champion a rule more favorable to the party’s interests

and which exceeds what the ―plain meaning‖ of its language will allow for. E.g., United States

v. O'Connor, 874 F.3d 1147, 1154 (10th Cir. 2017) (concluding that a court ―[c]annot ignore the

statutory text and construct a narrower statute than the plain language supports‖). All words have

a meaning, and entire statutory clauses cannot be ignored and rendered meaningless

         Plaintiff argues that joinder is proper so long as the claims arise out of the same

transaction, occurrence, or series of transactions or occurrences. For this interpretation to be

accurate, the rule must be disjunctive in the following fashion:

         1) A right to relief is asserted jointly (or) severally against the joined defendants;




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  (2) Defendants. Persons--as well as a vessel, cargo, or other property subject to admiralty process in rem--may be
joined in one action as defendants if:
(A) any right to relief is asserted against them jointly, severally, or in the alternative with respect to or arising out
of the same transaction, occurrence, or series of transactions or occurrences; and
(B) any question of law or fact common to all defendants will arise in the action.
Fed. R. Civ. P. 20(a)(2) (emphasis added).


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             Case 2:17-cv-00910-NJ Filed 12/01/17 Page 2 of 6 Document 30
        2) OR, in the alternative, and without regard to an assertion of joint or several liability,
           the right to relief asserted must arise from the same transaction or series or
           transactions.

While Plaintiff’s proffered interpretation cleverly supports their argument, it does so by

espousing a stilted, grammatically contrived interpretation of Rule 20(a)(2)(A). For plaintiff’s

interpretation to be the most straightforward, plain meaning of the Rule’s text, it would need to

have been drafted with certain subtle differences as outlined below, with certain additions

required to actually achieve that result set off in brackets for clarity’s sake.

        any right to relief is asserted against them jointly[,] [or] severally, or[,] in the
        alternative[,] with respect to or arising out of the same transaction, occurrence, or series
        of transactions or occurrences…

The most glaring inconsistency in plaintiff’s interpretation is the lack of commas after ―or‖ and

―in the alternative‖, which is the standard grammatical convention for making the subsequent

text as a whole disjunctive from the alternatives preceding it. Lacking these commas, the most

natural interpretation is that the right to relief must assert one of three forms of liability—joint,

several, or alternative, and once this initial precondition has been met, it must satisfy a second,

subordinate condition that becomes irrelevant if the first is not met. The outcome of more than

one case has hinged on the lack of a comma. E.g., Grp. Voyagers, Inc. v. Employers Ins. of

Wausau, WL 356653, at *4 (N.D. Cal. Mar. 4, 2002), aff'd, 66 F. App'x 740 (9th Cir. 2003); Pike

v. Caldera, 188 F.R.D. 519, 533–34 (S.D. Ind. 1999).

        The factual and procedural circumstances of most cases do not require the analysis of

Rule 20(a)(2)(A)’s first clause advanced in this reply because the causes of action and relative

postures of the parties clearly entail assertions of joint, several, or alternative liability. Such is

the case, for example, in instances of alleged employer vicarious liability arising from the

wrongful actions of its employees in the scope and course of their employment. The facts of the


                                                   3

           Case 2:17-cv-00910-NJ Filed 12/01/17 Page 3 of 6 Document 30
present case are different, and make necessary the analysis of Rule 20(a)(2)(A)’s first clause as

outlined above. When courts have been called upon to undertake this analysis, the vast majority

of them have followed the precise argument Defendants have advanced in this reply. E.g.,

Hagensicker v. Boston Sci. Corp., WL 836804, at *3 (W.D. Mo. Mar. 12, 2012) (analyzing

whether the claims Plaintiff brought against all Defendants could serve to impose joint, several,

or alternative liability against them all separate from the question of whether they arose from a

common transaction or occurrence, and noting that plaintiff had satisfied the mandates of Rule

20(a)(2) only because the common transaction prong was also met) (emphasis added); Tylor v.

Marriott Int'l, Inc., WL 12600833, at *3 (D. Haw. Nov. 12, 2014) (noting that asserting the same

copyright infringement causes of action against multiple defendants for the alleged violation of

different copyrighted material could not serve to impose joint, several, or alternative liability

against all of them, and hence joinder of all parties was not proper); Millennium TGA, Inc. v.

Doe, WL 1812786, at *3 (N.D. Cal. May 12, 2011) (concluding that numerous Defendants’

alleged copyright infringements were ―individual and separate‖, and therefore Plaintiff had failed

to ―[a]llege a plausible theory that the Doe Defendants are jointly or severally liable (or liable in

the alternative) for each respective reproduction and distribution‖ for which relief was sought);

Martinez v. Transportation Mgmt. LLC, WL 11338164, at *6 (C.D. Cal. Aug. 25, 2008)

(concluding that it would prejudice the Plaintiffs if the already-named defendants were allowed

to join a different transportation provider against whom the already-asserted claims could not

serve to impose joint, several, or alternative liability). See also, Keister v. Nat'l Council of

Young Men's Christian Ass'n of U.S., WL 3864583, at *9 (N.C. Super. July 18, 2013) (noting

that under North Carolina’s rule on permissive joinder, which mirrors the federal rule, that there

could be no liability against a party for causes of action that do not seek to impose joint, several



                                                 4

           Case 2:17-cv-00910-NJ Filed 12/01/17 Page 4 of 6 Document 30
or alternative liability against them, and that any such deficient claim was properly disposed of

via motion to dismiss for failure to state a claim upon which relief could be granted); Hacienda

Vill. Homeowners Ass'n, Inc. v. Marsh, Inc., WL 2893113, at *4 (M.D. Fla. July 20, 2011)

           Based on the foregoing, Plaintiff’s claims must be severed as a matter of law. Defendants

note that even after severance, they are willing to engage in discussions on a voluntary basis to

see if certain issues and tasks can be consolidated to promote judicial economy and efficiency. .

Defendants seek to assure both this Court and Plaintiff that we acknowledge and respect the

value of avoiding unnecessary duplication of effort, and are willing to work diligently in the

spirit of cooperation to avoid that outcome.

                                           CONCLUSION

           Plaintiff’s argument that rule 20(a)(2) be construed to their benefit conveniently ignores

some of the most fundamental canons of statutory interpretation. Meaning must be given to all

words, not just some words. Further, this must be done in a way that each word is given its ―plain

meaning‖ as opposed to a more contrived and unnatural one. Plaintiff has failed to establish the

first prong of Rule 20(a)(2)(A) that mandates claims must be asserted against Defendants

―jointly, severally, or in the alternative‖ for permissive joinder to be proper.     Because of this

failure, it is entirely irrelevant whether plaintiff satisfied the second prong. Unless the clear

dictates of rule 20(a)(2)(A)’s plain language are to be ignored, Defendants are entitled to relief as

impermissibly joined parties. Further, any potential negative impact to the efficiency of the

litigation process resulting from severance will be minimized by subsequent cooperation of the

parties.




                                                   5

              Case 2:17-cv-00910-NJ Filed 12/01/17 Page 5 of 6 Document 30
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                                    6

  Case 2:17-cv-00910-NJ Filed 12/01/17 Page 6 of 6 Document 30
